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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
                                             :               Case No. 21-mj-65 (ZMF)
               v.                            :
                                             :
ARTIE BYRD                                   :


               NOTICE OF LETTER PROVIDED TO DEFENSE COUNSEL

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby gives notice that the United States gave to counsel of record in

the above-captioned case via USAfx file exchange the discovery listed in the attached letter on the

dates set forth in the letter. The government requests that the attached discovery letter, dated

January 25, 2021, be made part of the record in this case.


                                                     Respectfully submitted,

                                                     MICHAEL R. SHERWIN
                                                     Acting United States Attorney
                                                     New York No. 4444188


                                              By:    /s/ Jeffrey N. Poulin
                                                     Jeffrey N. Poulin
                                                     WV Bar No. 11437
                                                     Assistant United States Attorney
                                                     United States Attorney’s Office
                                                     555 Fourth Street, N.W.
                                                     Washington, DC 20530
                                                     Phone: (202) 252-2641
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                                CERTIFICATE OF SERVICE

       On January 25, 2021, a copy of the foregoing notice and attached discovery letter were
served on defendant’s counsel through the Court’s Electronic Filing System with the listed
attachments provided to counsel through the means described in the discovery letter.


                                                   /s/ Jeffrey N. Poulin
                                                   Jeffrey N. Poulin
                                                   Assistant United States Attorney
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                                                        U.S. Department of Justice

                                                        Michael R. Sherwin
                                                        Acting United States Attorney

                                                        District of Columbia



                                                              January 25, 2021

By Email

Dani Jahn
Federal Public Defender
dani_jahn@fd.org

                Re:    United States v. Artie Byrd
                       Case No.: 21-mj-65 (ZMF)

Dear Counsel:

        This discovery letter concerns the above-referenced case. Among other things, this letter
memorializes ongoing discovery that has been provided to you in the above-referenced matter. By
now, you are connected to the USA File Exchange (“USAfx” or “the Box”). As you are aware, there
is a case-folder labeled, “Artie Byrd” and you and your paralegal have access to this case-folder and
are able to download its contents. Please keep in mind that all of the items placed in the USAfx
case-folder will be deleted automatically – some in as few as 30 days or less. It is therefore
imperative that you download all discovery as soon as possible.

       I.       Charges

       For the charges pending against your client, we refer you to the Complaint filed through
the Electronic Court File system for this case and provided as listed below.

       II.      Discovery

                A.     Documents and Digital Files:

       Discovery in the above mentioned case has been uploaded to the USA File Exchange
(“USAfx” or “the Box”) titled “Artie Byrd.” Please keep in mind that all of the items placed in
the USAfx case-folder will be deleted automatically – some in as few as 30 days or less. It is
therefore imperative that you download all discovery as soon as possible.
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Platform   Quantity    Description                                             Production
                                                                                  Date

USAfx      13 photos   BWC Photos                                             2021-01-26
                          • Axon_Capture_Photo_2021-01-
                              14_170538_10585.jpg
                          • Axon_Capture_Photo_2021-01-
                              14_170539_10585.jpg
                          • Axon_Capture_Photo_2021-01-
                              14_170554_10585.jpg
                          • Axon_Capture_Photo_2021-01-
                              14_183513_9711.jpg
                          • Axon_Capture_Photo_2021-01-
                              14_184010_9711.jpg
                          • Axon_Capture_Photo_2021-01-
                              14_184028_9711.jpg
                          • Axon_Capture_Photo_2021-01-
                              14_190311_10585.jpg
                          • Axon_Capture_Photo_2021-01-
                              14_190324_10585.jpg
                          • Axon_Capture_Photo_2021-01-
                              14_190334_10585.jpg
                          • Axon_Capture_Photo_2021-01-
                              14_190746_10585.jpg
                          • Axon_Capture_Photo_2021-01-
                              14_190756_10585.jpg
                          • Axon_Capture_Photo_2021-01-
                              14_191218_10585.jpg
                          • Axon_Capture_Photo_2021-01-
                              14_191234_10585.jpg
USAfx      1 pdf       Criminal History                                       2021-01-26
                          • LU#11_criminal_history.pdf (23 pages)
                          • Byrd PSR.pdf
USAfx      4 pdfs      Complaint Paperwork                                    2021-01-26
                          • signed-21mj65 Arrest Warrant.pdf (2 pages)
                          • signed-21mj65 Complaint.pdf (1 page)
                          • signed-21mj65 Criminal Complaint - Redacted.pdf
                              (1 page)
                          • signed-21mj65 Statement of Facts.pdf (2 pages)
USAfx      1 photo     MPD Documents                                          2021-01-26
           7 pdfs         • 10_BYRD_ARTIE_AFIS_FORM.pdf (1 page)
                          • 11_Arrest_Packets_-_102100794.pdf (30 pages)
                          • 11_Gerstein_USAO_-_102100794.pdf (2 pages)
                          • r_5_Papering_Cover_Sheet_21006285.docx (1
                              page) (redacted)
                          • r_7_arrest_paperwork_21006285.pdf (14 pages)
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                                     (redacted) (includes PD 256, PD81(s), WALES
                                     search re Firearm, DFS Submission Form, Request
                                     re Registration/License to Carry, J&C 2010CF2
                                     7647, WALEs Report re Byrd)
                               •     9_m1.jpg (Photo of Byrd)
                               •     Case_Notes_-_Attempted_Interview_-
                                     _Jan_14__2021_22_13.pdf (2 pages)
                               •     21006285 Property Barcodes (3 pages)




        Accordingly, please be advised that we anticipate providing additional discovery in this
case.

                B.     Evidence


        1.      Physical Evidence

        At trial, the government may seek to introduce the physical evidence that is described on
the attached police reports and those items listed below. This evidence includes:

                $      Photographs of the scene, evidence and your client
                $      Diagrams or maps of the location where the incident occurred
                $      Firearm and ammunition
                $      As well as any of the seized items that are indicated on the various reports,
                       which have also been provided to you

        2.      Radio Run Information

                The government believes there are no recorded communications relevant to this
                case.
          X     The government believes that there may be recorded communications relevant to
                this case. The recording will be provided consistent with the government=s
                obligations under the Jencks Act. Should we determine that we might use the
                recorded communications as evidence at trial, we will provide you a copy of the
                tape after we receive it.

        3.      Identification Evidence

        At this time, the government is not aware of any identification procedures utilized during
this investigation.

                C.     Inspection:

        Upon request, you are entitled to inspect and copy or photograph certain books, papers,
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documents, photographs, tangible objects, buildings or places that are within the possession,
custody or control of the government. See Fed R. Crim. P. 16(a)(1)(E). If you would like to view
any of the evidence listed above or described in the reports provided herewith, please contact me
to arrange for the inspection of the evidence. These arrangements will include a condition that
you not raise any objection to the admissibility of such evidence at trial because of the break in the
chain-of-custody occasioned by your inspection.


                D.      Reports of Examinations or Tests and Experts:

        Enclosed with this letter are multiple forensic processing and examination reports. It is
anticipated that there will be additional forensic test results forthcoming. Such reports may
include, but are not limited to, fingerprint testing, DNA testing, drug analysis, and/or firearms
testing. Once any additional reports are completed, we will forward these to you pursuant to the
government’s ongoing discovery obligations.

        Please be advised that the government may call a DNA expert to testify at trial. Further
details specifying the identities of these experts, the experts’ qualifications, and the substance and
basis of the expert testimony will be provided under separate cover.

        Please be advised that the government may call a fingerprint expert to testify at trial. The
expert may testify about the following subjects: the taking of fingerprints; how fingerprints are
left; how fingerprints are lifted; the factors that affect the taking of fingerprints; the difficulties in
recovering prints from surfaces such as plastic or guns; the comparison of prints; and the
identification of prints if there are sufficient Apoints@ to render a print usable. Due to the volume
of cases being presented in court, it is unclear which witness will be available to testify if needed.
The government may also call an experienced Mobile Crime or Crime Scene Search evidence
technician as an expert. This expert will testify about the methods used to recover or attempt to
recover latent fingerprints from pieces of evidence, why recovering latent fingerprints from
particular surfaces or items of evidence may be difficult, and the MPD (or other law enforcement)
policies, practices, and procedures for recovering and processing latent fingerprints. Such an
expert will base his or her testimony on their training and experience in evidence collection.
Further details specifying the identity of the expert, the expert’s qualifications, and the substance
and basis of the expert testimony will be provided under separate cover.

        Please be advised that the government may call an expert in the field of forensic analysis
and the analysis of controlled substances to testify regarding testing procedures and the results of
any drug analysis. The government may also call a drug expert to testify regarding the police
procedures regarding the handlings and analysis of narcotics, as well as methods used by person
in the District of Columbia for the use, purchase, processing, packaging, and distribution of
narcotics. Further details specifying the identity of the expert, the expert’s qualifications, and the
substance and basis of the expert testimony will be provided under separate cover.

        The government may also call a firearms expert to testify regarding the fact that the firearm
and ammunition recovered in this case were not manufactured in the District of Columbia, and that
this item was shipped or transported interstate or foreign commerce from another state into the
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District of Columbia. Further details specifying the identity of the expert, the expert’s
qualifications, and the substance and basis of the expert testimony will be provided under separate
cover.

       Finally, as evidence is collected and analyzed in this case, further need for expert testimony
may be identified by the government; at which time the government will provide details specifying
the identity of the expert, the expert’s qualifications, and the substance and basis of the expert
testimony under separate cover.

       III.    RULE 404(b) and RULE 609 EVIDENCE (known at this time)

        The government may seek to admit evidence pursuant to FRE 404(b) and 609. In the event
that the government seeks to introduce such evidence at trial, an appropriate notice or motion will
be filed. Please also refer to the Pretrial Services Report that you received at arraignment for
information about your client’s criminal record that will likely form the basis for some or all of
the evidence to be admitted pursuant to FRE 404(b) and 609.

       IV.     Criminal Record

       Please refer to the Pretrial Services Reports that you received at arraignment for further
information about your client’s record. I will notify you in writing if the government learns of any
additional convictions which are not included in this report.

       V.      Government’s Discovery Requests

        The government hereby makes a reverse discovery request pursuant to Fed. R. Crim. P.
16(b), including, but not limited to the following:

       (1) notice of documents and tangible objects the defendant expects to introduce;
       (2) a Jencks request for all prior statements of any defense witness (excluding the
           defendant);
       (3) a Lewis request (for which we request the name, date of birth, sex, and social security
           number of each defense witness prior to trial); and
       (4) a request for information pertaining to any expert or scientific testimony or evidence.

       Pursuant to Fed. R. Crim. P. 16, we note our continuing request to receive any material
pursuant to Rule 16(b) as the case proceeds.

       VI.     Other Information (Brady / Lewis / Giglio)


       The government is aware of its Brady or Giglio obligations. If such information does exist
with respect to any confidential informant(s), it will be disclosed at the appropriate time. Lewis
information for the government’s witnesses will be provided to you at the time of trial.
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        Should you have any questions or concerns, please call me directly at the telephone number
indicated above.

       VII.    Contact Information

       If you have any questions about the information provided above, you may contact me by
telephone, fax, or mail; as provided below.

       Jeffrey Poulin
       Office of the United States Attorney
       Violent Crime and Narcotics Trafficking Section
       555 4th St., NW
       Washington, DC 20530
       jeffrey.poulin@usdoj.gov
       202-252-2641
                                                  Respectfully,

                                                    MICHAEL R. SHERWIN
                                                    ACTING UNITED STATES ATTORNEY


                                             By:    _/s/ Jeffrey N. Poulin_______
                                                    Jeffrey N. Poulin
                                                    Assistant United States Attorney
